              Case 2:08-cr-00197-KJM Document 125 Filed 09/10/12 Page 1 of 3


 1   Michael E. Hansen
     Attorney at Law, SBN 191737
 2   711 Ninth Street, Suite 100
     Sacramento, CA 95814
 3   916.438.7711 FAX 916.864.1359
 4   Attorney for Defendant
     JIMMIE PERRYMAN
 5
 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          No. 2:08-CR-0197 GEB
11                                 Plaintiff,           STIPULATION AND
                                                        ORDER TO CONTINUE STATUS
12          vs.                                         CONFERENCE, AND TO EXCLUDE
                                                        TIME PURSUANT TO THE SPEEDY
13   JIMMIE PERRYMAN,                                   TRIAL ACT
14                                 Defendant.
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Todd Leras, Assistant United States Attorney, attorney for plaintiff, and
18   Michael E. Hansen, attorney for defendant Jimmie Perryman, that the previously-scheduled
19   status conference date of September 7, 2012, be vacated and the matter set for status
20   conference on October 5, 2012, at 9:00 a.m..
21          This continuance is requested to allow counsel additional time to review discovery with
22   the defendant, to examine possible defenses and to continue investigating the facts of the case.
23   The parties are working diligently towards a resolution. Also, the status conference for co-
24   defendant Jimmie Griffen is currently scheduled for October 5, 2012.
25          The Government concurs with this request.
26          Further, the parties agree and stipulate the ends of justice served by the granting of such
27   a continuance outweigh the best interests of the public and the defendant in a speedy trial and
28   that time within which the trial of this case must be commenced under the Speedy Trial Act


                                                    1
     Stipulation and Order to Continue Status Conference
               Case 2:08-cr-00197-KJM Document 125 Filed 09/10/12 Page 2 of 3


 1   should therefore be excluded under 18 U.S.C. section 3161(h)(7)(B)(iv), corresponding to
 2   Local Code T-4 (to allow defense counsel time to prepare), from the date of the parties’
 3   stipulation, September 5, 2012, to and including October 5, 2012.
 4           Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 5           IT IS SO STIPULATED.
 6   Dated: September 5, 2012                              Respectfully submitted,
 7                                                         /s/ Michael E. Hansen
                                                           MICHAEL E. HANSEN
 8                                                         Attorney for Defendant
                                                           JIMMIE PERRYMAN
 9
     Dated: September 5, 2012                              BENJAMIN B. WAGNER
10                                                         United States Attorney
11                                                         By: /s/ Michael E. Hansen for
                                                           TODD LERAS
12                                                         Assistant U.S. Attorney
                                                           Attorney for Plaintiff
13
14                                       ORDER
15           The Court, having received, read, and considered the stipulation of the parties, and
16   good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.
17   Based on the stipulation of the parties and the recitation of facts contained therein, the Court
18   finds that it is unreasonable to expect adequate preparation for pretrial proceedings and trial
19   itself within the time limits established in 18 U.S.C. section 3161. In addition, the Court
20   specifically finds that the failure to grant a continuance in this case would deny defense
21   counsel to this stipulation reasonable time necessary for effective preparation, taking into
22   account the exercise of due diligence. The Court finds that the ends of justice to be served by
23   granting the requested continuance outweigh the best interests of the public and the defendants
24   in a speedy trial.
25           The Court orders that the time from the date of the parties’ stipulation, September 5,
26   2012, to and including October 5, 2012, shall be excluded from computation of time within
27   which the trial of this case must be commenced under the Speedy Trial Act, pursuant to 18
28   U.S.C. section 3161(h)(7)(B)(iv), and Local Code T4 (reasonable time for defense counsel to


                                                     2
     Stipulation and Order to Continue Status Conference
                            Case 2:08-cr-00197-KJM Document 125 Filed 09/10/12 Page 3 of 3


 1   prepare). It is further ordered that the September 7, 2012, status conference shall be continued
 2   until October 5, 2012, at 9:00 a.m.
 3          IT IS SO ORDERED.
 4          Date: 9/7/2012
 5
 6                                                  ___________________________________
                                                    GARLAND E. BURRELL, JR.
 7                                                  Senior United States District Judge
 8          DEAC_Signature-END:




 9
10
            61khh4bb
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                           3
     Stipulation and Order to Continue Status Conference
